   Case: 1:18-cv-04473 Document #: 106 Filed: 09/21/20 Page 1 of 4 PageID #:2836




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 ASHLEY PIERRELOUIS, Individually
 and On Behalf of All Others Similarly
 Situated,
                                                        Case No. 18-cv-04473
                 Plaintiff,
                                                        Hon. Jorge L. Alonso
                 v.

 GOGO INC., MICHAEL J. SMALL,
 NORMAN SMAGLEY, BARRY
 ROWAN, and JOHN WADE,

                 Defendants.


    DEFENDANTS’ MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

       Defendants Gogo Inc. (“Gogo”), Michael J. Small, Norman Smagley, Barry Rowan, and

John Wade, by and through their undersigned attorneys, respectfully move pursuant to Rules

12(b)(6) and 9(b) of the Federal Rules of Civil Procedure and the Private Litigation Securities

Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(b), to dismiss the Third Amended Class

Action Complaint (the “Third Amended Complaint”) because it fails to state a claim upon which

relief can be granted and fails to plead fraud with particularity as required by the PSLRA. In

support of this motion, defendants state as follows:

       1.      This is a putative class action against Gogo and certain of its current and former

officers and directors for alleged violations of the federal securities laws.

       2.      The Third Amended Complaint alleges that defendants violated sections 10(b) and

20(a) of the Securities Exchange Act of 1934, 15 U.S.C. §§ 78j(b) and 78t(a), and Securities and

Exchange Commission Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5, by allegedly
   Case: 1:18-cv-04473 Document #: 106 Filed: 09/21/20 Page 2 of 4 PageID #:2837




making false and misleading statements during the period of February 27, 2017 to February 22,

2018, in connection with Gogo’s proprietary in-flight wi-fi service.

       3.      The Third Amended Complaint suffers from the same deficiencies that led the

Court to dismiss the original amended complaint. The Third Amended Complaint should be

dismissed with prejudice as a matter of law for the following reasons.

       4.      First, the Third Amended Complaint fails to plead any statement that was false or

misleading at the time it was made. The Third Amended Complaint impermissibly relies on

“fraud by hindsight” by pointing to subsequent statements and events in an attempt to prove the

falsity of earlier statements. Without allegations of contemporaneous falsity, plaintiff cannot

satisfy the heightened pleading requirements of the PSLRA.

       5.      Second, plaintiff fails to adequately plead scienter because the Third Amended

Complaint is devoid of any allegations showing that any defendant acted with fraudulent intent.

       6.      Third, some of the statements at issue are not actionable because they are protected

by the PSLRA’s statutory safe harbor for forward-looking statements. Plaintiff challenges various

statements concerning defendants’ expectations about Gogo’s financial performance, but these

statements are based on future projections and accompanied by the requisite cautionary

disclosures to invoke the safe harbor’s protections. As such, these statements are not actionable

as a matter of law.

       7.      Finally, because plaintiff has failed to allege a primary violation of the securities

laws, he has failed to state a claim for control person liability under Section 20(a).

       8.      In further support of this motion, defendants have filed a Memorandum of Law in

Support of Defendants’ Motion to Dismiss the Third Amended Complaint and the Declaration of

Jerome S. Fortinsky, which are incorporated by reference herein.



                                                   2
   Case: 1:18-cv-04473 Document #: 106 Filed: 09/21/20 Page 3 of 4 PageID #:2838




        9.      This Court dismissed a prior amended complaint (ECF No. 55) with leave to

replead by order dated October 16, 2019 (ECF No. 68). After filing a Second Amended

Complaint (ECF No. 73), which defendants moved to dismiss on February 21, 2020 (ECF No.

80), plaintiff sought and obtained leave to file the Third Amended Complaint (ECF Nos. 97, 100)

and the Court then denied defendants’ motion to dismiss the Second Amended Complaint as moot

(ECF No. 100). Because plaintiff has now had several opportunities to plead his claims, the Court

should dismiss the Third Amended Complaint with prejudice.

        WHEREFORE, defendants Gogo Inc., Michael J. Small, Norman Smagley, Barry

Rowan, and John Wade respectfully request that the Third Amended Complaint be dismissed in

its entirety with prejudice.

Dated: September 21, 2020                       Respectfully submitted,

                                                NEAL, GERBER & EISENBERG LLP

                                                /s/ Andrew G. May
                                                Jonathan S. Quinn
                                                Andrew G. May
                                                Two North LaSalle Street, Suite 1700
                                                Chicago, Illinois 60602
                                                Telephone: (312) 269-8000
                                                jquinn@nge.com
                                                amay@nge.com

                                                SHEARMAN & STERLING LLP
                                                Jerome S. Fortinsky (admitted pro hac vice)
                                                Brian H. Polovoy (admitted pro hac vice)
                                                599 Lexington Avenue
                                                New York, NY 10022-6069
                                                Telephone: (212) 848-4000
                                                jfortinsky@shearman.com
                                                bpolovoy@shearman.com

                                                Attorneys for Defendants Gogo Inc.,
                                                Michael J. Small, Norman Smagley,
                                                Barry Rowan and John Wade



                                                3
   Case: 1:18-cv-04473 Document #: 106 Filed: 09/21/20 Page 4 of 4 PageID #:2839




                                CERTIFICATE OF SERVICE

       The undersigned certifies that he caused a copy of Defendants’ Motion to Dismiss the

Third Amended Complaint, the Memorandum of Law in Support of Defendants’ Motion to

Dismiss the Third Amended Complaint, and the Declaration of Jerome S. Fortinsky to be

electronically filed using the CM/ECF system, which will send notice of this electronic filing to

all counsel of record receiving electronic notification on September 21, 2020.


                                                     /s/      Andrew G. May
